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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

  K. C., et al.                                )
                                               )
                            Plaintiffs,        )
                                               )
                       v.                      )    No. 1:23-cv-00595-JPH-KMB
                                               )
  THE INDIVIDUAL MEMBERS OF THE                )
  MEDICAL LICENSING BOARD OF                   )
  INDIANA, et al.                              )
                                               )
                            Defendants.        )

                                          ORDER

         The parties have filed a joint motion to continue the final pretrial

  conference and trial settings in this case. Dkt. 117. The Court accordingly

  VACATES both the October 9, 2024, final pretrial conference and the

  November 4, 2024, trial setting and SCHEDULES this case for a final pretrial

  conference on April 15, 2025, at 9:30 a.m. in Room 329, United States

  Courthouse, 46 E. Ohio Street, Indianapolis, Indiana, and bench trial to

  commence on April 28, 2025, at 9:00 a.m. in Room 349, United States

  Courthouse, 46 E. Ohio Street, Indianapolis, Indiana. The motion to continue

  case management plan deadlines remains pending on the docket. Dkt. 117.

  SO ORDERED.
  Date: 1/25/2024




  Distribution:

  All electronically registered counsel
